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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:17-cv-00706-RBJ

WENDUO GUO, Derivatively on Behalf of CLOVIS ONCOLOGY, INC.,

                                        Plaintiff,
      v.

PATRICK J. MAHAFFY,
DANIEL W. MUEHL,
GILLIAN C. IVERS-READ,
M. JAMES BARRETT,
BRIAN G. ATWOOD,
JAMES C. BLAIR,
PAUL H. KLINGENSTEIN,
EDWARD J. MCKINLEY,
THORLEF SPICKSCHEN,
KEITH FLAHERTY,
GINGER L. GRAHAM,
ERLE T. MAST, and
ANDREW R. ALLEN,
                                        Defendants,

      - and -

CLOVIS ONCOLOGY, INC., a Delaware corporation,

                                  Nominal Defendant.



        AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
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       Plaintiff Wenduo Guo, by his undersigned counsel, submits this Amended Verified

Stockholder Derivative Complaint on behalf of nominal defendant Clovis Oncology, Inc. ("Clovis"

or the "Company") against the defendants named herein. Plaintiff alleges the following on

information and belief, except as to the allegations specifically pertaining to plaintiff which are

based on personal knowledge. This complaint is also based on the investigation of plaintiff's

counsel, which included, among other things, a review of public filings with the U.S. Securities

and Exchange Commission ("SEC") of Clovis and a review of news reports, press releases, court

filings in parallel and related cases, and other publicly available sources.

                        NATURE AND SUMMARY OF THE ACTION

       1.      This is a stockholder derivative action brought by plaintiff, a stockholder of Clovis,

on behalf of the Company against certain of its current and former officers and directors. This

action seeks to remedy the defendants' violations of law addressed herein, including violation of

securities law and breaches of fiduciary duty that have caused substantial damage to Clovis.

       2.      Clovis is a biopharmaceutical company that focuses on acquiring, developing, and

commercializing innovative anti-cancer agents in the United States, Europe, and additional

international markets. Until recently, the Company never had a revenue-generating product on the

market, and has long been heavily dependent on capital raised from investors to fund the research

and development costs for its pipeline.

       3.      For years, the most important and prominent of the three drugs in Clovis' pipeline

was a proprietary cancer drug called rociletinib. Rociletinib was a purportedly revolutionary

cancer medication that was designed to treat lung cancer patients who were resistant to front-line




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therapies, an estimated $3 billion untapped global market and was intrinsically critical to the

Company's business operation.

       4.      Beginning in or about at least 2013, Clovis enrolled rociletinib in a series of clinical

tests in attempt to receive approval for a new drug application ("NDA") from the U.S. Food and

Drug Administration ("FDA"), including a multi-year safety and efficacy trial called "TIGER-X,"

and an additional efficacy trial called "TIGER-2." According to the Company, the "primary

endpoint" (i.e., the central measure of success) for these trials was to determine the "objective

response rate" or "ORR" of rociletinib "per Response Evaluation Criteria in Solid Tumors" or

"RECIST" standards.      ORR describes the percentage of patients who experience clinically

meaningful tumor shrinkage when treated with the drug, and RECIST is the most widely used

system for assessing response in cancer clinical trials. Importantly, RECIST unequivocally

requires that each instance of tumor shrinkage must be "confirmed" in a subsequent scan

occurring several weeks after the initial scan. The main goal of confirmation of objective response

in clinical trials is to avoid overestimating the response rate observed. Thus, tumor shrinkage

cannot be included in the calculation of ORR unless it is confirmed.1

       5.      For years, the Individual Defendants (as defined herein) repeatedly and brazenly

misrepresented the efficacy and safety of rociletinib. Specifically, the Individual Defendants

repeatedly misrepresented that: (i) reciletinib trials strictly adhered to RECIST; (ii) reciletinib was

performing extremely well in trials; (iii) reciletinib had an "impressive" and "highly compelling"



1
 Unconfirmed responses can be reported in certain publications with appropriate annotations but
are never the primary endpoint in a trial, especially in a pivotal trial designed to seek marketing
authorization.



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efficacy profile, with a 60% confirmed response rate; (iv) reciletinib had a strong safety profile,

was "well tolerated," with minimal and "easily managed" side effects; and (v) rociletinib would

"compete very effectively" against a similar experimental drug called Tagrisso, which was being

developed by pharmaceutical giant AstraZeneca PLC ("AstraZeneca").

       6.      All of the above statements were grossly inaccurate. On November 16, 2015,

Clovis announced that despite repeated assurances over the years specifically claiming that

reciletinib trials strictly adhered to RECIST, the purportedly impressive ORR that the Company

had long been reporting for rociletinib was actually "based primarily on unconfirmed responses."

The Company further announced that rociletinib's true ORR, based on confirmed responses, was

just 30%, or half the rate that the Individual Defendants touted for years. As was later summarized

by longtime cancer drug development expert, Dr. Kapil Dhingra, rociletinib's "efficacy data have,

consistently and repeatedly, over many years, been misrepresented."

       7.      These shocking revelations devastated Clovis and caused the Company's stock

price to plunge nearly 70% from the previous trading day's closing price of $99.43, to close at just

$30.24 on the day of the announcement, erasing over $2.6 billion in market capitalization in a

single day.

       8.      In the following months, the Individual Defendants attempted to keep the

Company's stock price from plummeting further by assuring investors that, despite rociletinib's

less than stellar efficacy, the drug had a highly favorable safety profile, which could potentially

help pave the way to some commercial success. Unfortunately, this too was grossly inaccurate.

       9.      On April 8, 2016, the FDA publicly revealed that rociletinib significantly increased

the risk of "serious" and "life threatening" adverse cardiovascular events. In fact, the dangers were



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so significant that the FDA concluded that if rociletinib was ever approved for commercial use,

the drug would be required to display the strongest safety warning label available. Further, safety

data showed that the adverse side effects of rociletinib were so severe that they forced more than

half of all patients to interrupt, modify, or altogether cease therapy.

       10.     Analysts quickly and accurately concluded that rociletinib was "dead." On April

8, 2016, the same day as the above disclosures, Clovis' stock price fell another 17.7%, erasing over

$130.4 million more of the Company's market capitalization. Within a month, the Company

confirmed that rociletinib was a commercial failure, withdrew the drug's NDA from the FDA, and

"terminated enrollment in all ongoing sponsored clinical studies of rociletinib."

       11.     As a direct result of the Individual Defendants' unlawful course of conduct, Clovis

was the subject of a consolidated securities class action lawsuit filed in the U.S. District Court for

the District of Colorado (the "Securities Class Action"). The Securities Class Action was filed on

behalf of investors who purchased shares of Clovis stock between May 31, 2014 and April 7, 2016,

as well as investors who purchased Clovis stock in connection with a secondary offering held by

the Company on or about July 14, 2015 (the "Offering"). The Securities Class Action alleged that

documents filed by the Company with the SEC in connection with the Offering materially misled

investors with respect to the commercial prospects, safety profile, and efficacy of rociletinib. On

February 9, 2017, the Court in the Securities Class Action largely denied defendants' motion to

dismiss and noted that "the objective response rates for rociletnib [sic] that the Clovis Defendants

disclosed in their public communications [appeared to be] misleading." The Securities Class

Action was settled for $142 million, with $25 million to be paid to plaintiffs in cash and the

remainder in stock by defendants Clovis, Patrick J. Mahaffy ("Mahaffy"), Erle T. Mast ("Mast"),



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Andrew R. Allen ("Allen"), and Gillian C. Ivers-Read ("Ivers-Read"). Mahaffy, Mast, Allen, and

Ivers-Read are defendants in this action. The settlement was approved by the Court on October

26, 2017.

       12.     On September 18, 2018, defendants Mahaffy and Mast and nominal defendant

Clovis resolved charges brought by the SEC for misleading investors about rociletinib. Clovis

agreed to pay at $20 million civil penalty, Mahaffy agreed to pay $250,000 in fines and penalties,

and Mast was fined $100,000 and agreed to pay another $454,145 for selling Clovis stock at

inflated prices. The SEC's complaint and settlement agreement established that Clovis' Board of

Directors (the "Board") and senior management were aware that rociletinib's ORR was

substantially lower than the ORR reported to the public and stockholders, and that the ORR

reported was based on unconfirmed responses. The settlement agreement also established that

defendants Mahaffy and Mast do not and cannot deny these allegations.

       13.     In the parallel stockholder derivative action pending in the Delaware Court of

Chancery, captioned In Re Clovis Oncology, Inc. Derivative Litigation, Consolidated Civil Action

No. 2017-0222-JRS (the "Delaware Action"), Vice Chancellor Joseph R. Slights III denied the

defendants' motion to dismiss, finding that the plaintiffs here adequately pled that demand upon

Clovis' Board was futile because defendants face a substantial likelihood of liability for breach of

their fiduciary duties as officers and directors of the Company. Some of the allegations in this

complaint are sourced directly from Vice Chancellor Slights findings from the pleading standards

at the motion of dismiss stage that if the allegations were true, the defendants ignored "red flags

that Clovis was not adhering to the clinical trial protocols, thereby placing FDA approval of the

drug in jeopardy" and that "[w]ith the trial's skewed results in hand, the Board then allowed the



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Company to deceive regulators and the market regarding the drug's efficacy." Memorandum

Opinion at 2 (Del. Ch. Oct. 1, 2019).

       14.     In 2015, the Individual Defendants negligently made false and misleading

statements in the Company's annual proxy statement, which were material to the proxy statement,

and urged stockholders to vote to reelect certain directors. The proxy statement, however,

misleadingly assured investors that Clovis' Board adequately oversees and monitors: (i) the quality

and integrity of the Company's financial statements and other disclosures; (ii) Clovis' compliance

with legal and regulatory requirements; and (iii) the Company's internal controls. The proxy

statement also misleadingly assured investors that senior management and every member of the

Board conducts themselves in accordance with the Company's Code of Business Ethics, including

by complying with all applicable governmental rules and regulations, and by fully, fairly,

accurately, and timely disclosing material information in Clovis' SEC filings. As stated above, the

SEC imposed penalties upon Clovis for securities violations. Had Clovis stockholders known of

the misleading nature of these statements, stockholders would have not voted to reelect and

continue to compensate the offending directors, who repeatedly disregarded the best interests of

Clovis and its stockholders.

       15.     Plaintiff brings this action against the Individual Defendants to repair the harm that

they caused with their faithless actions.

                                 JURISDICTION AND VENUE

       16.     Pursuant to 28 U.S.C. §1331 and section 27 of the Securities Exchange Act of 1934

(the "Exchange Act"), this Court has jurisdiction over the claims asserted herein for violations of




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section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder. This Court has

supplemental jurisdiction over the remaining claims under 28 U.S.C. §1367.

        17.     This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in this District,

or is an individual who has sufficient minimum contacts with this District so as to render the

exercise of jurisdiction by the District courts permissible under traditional notions of fair play and

substantial justice.

        18.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) because: (i) Clovis

maintains its principal place of business in this District; (ii) one or more of the defendants either

resides in or maintains executive offices in this District; (iii) a substantial portion of the

transactions and wrongs complained of herein occurred in this District; and (iv) defendants have

received substantial compensation in this District by doing business here and engaging in

numerous activities that had an effect in this District.

                                          THE PARTIES

Plaintiff

        19.     Plaintiff Wenduo Guo was a stockholder of Clovis at the time of the wrongdoing

complained of, has continuously been a stockholder since that time, and is a current Clovis

stockholder.

Nominal Defendant

        20.     Nominal defendant Clovis is a Delaware corporation with principal executive

offices located at 5500 Flatiron Parkway, Suite 100, Boulder, Colorado.                 Clovis is a

biopharmaceutical company focused on acquiring, developing, and commercializing innovative



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anti-cancer agents in the United States, Europe, and additional international markets. For years,

the Company had three product candidates in clinical development: rociletinib for lung cancer,

rucaparib for ovarian cancer, and lucitanib for breast cancer. Clovis has received Breakthrough

Therapy designation from the FDA for rociletinib and rucaparib.

Defendants

       21.       Defendant Mahaffy is a co-founder of Clovis and its President, Chief Executive

Officer, and a director and has been since April 2009. Defendant Mahaffy was named as a

defendant in the Securities Class Action that alleged he violated sections 10(b) and 20(a) of the

Exchange Act and sections 11, 12(a)(2), and 15 of the Securities Act of 1933 (the "Securities Act").

Defendant Mahaffy knowingly, recklessly, or with gross negligence: (i) fostered a culture of

lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to operate for years

with significant deficiencies in its drug trial controls and reporting controls; (iii) caused or allowed

Clovis to fail to comply with FDA rules and regulations concerning drug trial data and reporting;

(iv) failed to ensure the Company's clinical data was accurately presented to the FDA and to the

investing public; and (v) caused or allowed the Individual Defendants to make improper public

statements about Clovis' business, including with respect to the Offering. Defendant Mahaffy also

negligently violated section 14(a) of the Exchange Act by causing Clovis to make misleading

statements in the 2015 Proxy (as defined herein). Clovis paid defendant Mahaffy the following

compensation as an executive:

                                                   Option         All Other
          Year       Salary        Bonus          Awards        Compensation         Total
          2015      $563,750          -          $5,091,720       $15,522         $5,670,992
          2014      $544,167      $357,500       $9,206,220       $15,146         $10,123,033




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        22.     Defendant Daniel W. Muehl ("Muehl") is Clovis' Executive Vice President and

 Chief Financial Officer and has been since May 2019. He was previously Senior Vice President

 of Finance from September 2016 to May 2019, and Principal Financial Officer and Accounting

 Officer since March 2016 to May 2019. Defendant Muehl was also Vice President of Finance

 from 2015 to September 2016. Defendant Muehl knowingly, recklessly, or with gross negligence:

 (i) fostered a culture of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis

 to operate for years with significant deficiencies in its drug trial controls and reporting controls;

 (iii) caused or allowed Clovis to fail to comply with FDA rules and regulations concerning drug

 trial data and reporting; (iv) failed to ensure the Company's clinical data was accurately presented

 to the FDA and to the investing public; and (v) caused or allowed the Individual Defendants to

 make improper public statements about Clovis' business, including with respect to the Offering.

        23.     Defendant Ivers-Read is a co-founder of Clovis and its Chief Regulatory Officer

 and Executive Vice President of Technical Operations and has been since April 2009. Defendant

 Ivers-Read was named as a defendant in the Securities Class Action that alleged she violated

 sections 10(b) and 20(a) of the Exchange Act and sections 11, 12(a)(2), and 15 of the Securities

 Act. Defendant Ivers-Read knowingly, recklessly, or with gross negligence: (i) fostered a culture

 of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to operate for years

 with significant deficiencies in its drug trial controls and reporting controls; (iii) caused or allowed

 Clovis to fail to comply with FDA rules and regulations concerning drug trial data and reporting;

 (iv) failed to ensure the Company's clinical data was accurately presented to the FDA and to the

 investing public; and (v) caused or allowed the Individual Defendants to make improper public




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 statements about Clovis' business, including with respect to the Offering. Clovis paid defendant

 Ivers-Read the following compensation as an executive:

                                                    Option          All Other
              Year     Salary        Bonus         Awards         Compensation        Total
              2015    $410,000      $61,182       $1,782,102        $26,423        $2,279,707
              2014    $395,217      $180,000      $3,222,177        $26,093        $3,823,487


        24.      Defendant M. James Barrett ("Barrett") was Clovis' Chairman of the Board until

 his recent resignation on June 5, 2019. He had been Chairman from April 2012 and a director

 since April 2009 until his resignation. Defendant Barrett was the Chair of Clovis' Nominating and

 Corporate Governance Committee and a member of the Compensation Committee from at least

 April 2014 until his resignation Defendant Barrett knowingly or recklessly: (i) fostered a culture

 of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to operate for years

 with significant deficiencies in its drug trial controls and reporting controls; (iii) caused or allowed

 Clovis to fail to comply with FDA rules and regulations concerning drug trial data and reporting;

 (iv) failed to ensure the Company's clinical data was accurately presented to the FDA and to the

 investing public; and (v) caused or allowed the Individual Defendants to make improper public

 statements about Clovis' business, including with respect to the Offering. Defendant Barrett also

 negligently violated section 14(a) of the Exchange Act by causing Clovis to make misleading

 statements in the 2015 Proxy. Clovis paid defendant Barrett the following compensation as a

 director:

                     Fiscal                                 Option
                      Year       Fees Paid in Cash         Awards           Total
                     2015             $79,938              $562,399       $642,337
                     2014             $62,000              $357,862       $419,862




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        25.     Defendant Brian G. Atwood ("Atwood") is a Clovis director and has been since

 April 2009. Defendant Atwood is a member of Clovis' Audit and Nominating and Corporate

 Governance Committees and has been since at least April 2014. Defendant Atwood knowingly or

 recklessly: (i) fostered a culture of lawlessness and unethical behavior at Clovis; (ii) caused or

 allowed Clovis to operate for years with significant deficiencies in its drug trial controls and

 reporting controls; (iii) caused or allowed Clovis to fail to comply with FDA rules and regulations

 concerning drug trial data and reporting; (iv) failed to ensure the Company's clinical data was

 accurately presented to the FDA and to the investing public; and (v) caused or allowed the

 Individual Defendants to make improper public statements about Clovis' business, including with

 respect to the Offering. Defendant Atwood also negligently violated section 14(a) of the Exchange

 Act by causing Clovis to make misleading statements in the 2015 Proxy. Clovis paid defendant

 Atwood the following compensation as a director:

                    Fiscal                                Option
                     Year      Fees Paid in Cash         Awards          Total
                    2015            $54,750              $562,399      $617,149
                    2014            $53,000              $357,862      $410,862


        26.     Defendant James C. Blair ("Blair") is a Clovis director and has been since April

 2009. Defendant Blair is the Chair of Clovis' Compensation Committee and a member of the

 Nominating and Corporate Governance Committee and has been since at least April 2014.

 Defendant Blair knowingly or recklessly: (i) fostered a culture of lawlessness and unethical

 behavior at Clovis; (ii) caused or allowed Clovis to operate for years with significant deficiencies

 in its drug trial controls and reporting controls; (iii) caused or allowed Clovis to fail to comply

 with FDA rules and regulations concerning drug trial data and reporting; (iv) failed to ensure the

 Company's clinical data was accurately presented to the FDA and to the investing public; and (v)


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 caused or allowed the Individual Defendants to make improper public statements about Clovis'

 business, including with respect to the Offering. Defendant Blair also negligently violated section

 14(a) of the Exchange Act by causing Clovis to make misleading statements in the 2015 Proxy.

 Clovis paid defendant Blair the following compensation as a director:

                     Fiscal                                 Option
                      Year      Fees Paid in Cash          Awards           Total
                     2015            $59,375               $562,399       $621,774
                     2014            $55,000               $357,862       $412,862


         27.    Defendant Paul H. Klingenstein ("Klingenstein") is a Clovis director and has been

 since April 2009. Defendant Klingenstein is a member of Clovis' Audit Committee and has been

 since at least April 2014.   Defendant Klingenstein knowingly or recklessly: (i) fostered a culture

 of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to operate for years

 with significant deficiencies in its drug trial controls and reporting controls; (iii) caused or allowed

 Clovis to fail to comply with FDA rules and regulations concerning drug trial data and reporting;

 (iv) failed to ensure the Company's clinical data was accurately presented to the FDA and to the

 investing public; and (v) caused or allowed the Individual Defendants to make improper public

 statements about Clovis' business, including with respect to the Offering. Defendant Klingenstein

 also negligently violated section 14(a) of the Exchange Act by causing Clovis to make misleading

 statements in the 2015 Proxy. Clovis paid defendant Klingenstein the following compensation as

 a director:

                     Fiscal                                 Option
                      Year      Fees Paid in Cash          Awards           Total
                     2015            $49,750               $562,399       $612,149
                     2014            $48,000               $357,862       $405,862




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        28.     Defendant Edward J. McKinley ("McKinley") is a Clovis director and has been

 since April 2009. Defendant McKinley is the Chair of Clovis' Audit Committee and a member of

 that committee and has been since at least April 2014.              Defendant McKinley knowingly or

 recklessly: (i) fostered a culture of lawlessness and unethical behavior at Clovis; (ii) caused or

 allowed Clovis to operate for years with significant deficiencies in its drug trial controls and

 reporting controls; (iii) caused or allowed Clovis to fail to comply with FDA rules and regulations

 concerning drug trial data and reporting; (iv) failed to ensure the Company's clinical data was

 accurately presented to the FDA and to the investing public; and (v) caused or allowed the

 Individual Defendants to make improper public statements about Clovis' business, including with

 respect to the Offering. Defendant McKinley also negligently violated section 14(a) of the

 Exchange Act by causing Clovis to make misleading statements in the 2015 Proxy. Clovis paid

 defendant McKinley the following compensation as a director:

                    Fiscal                                 Option
                     Year       Fees Paid in Cash         Awards             Total
                    2015             $59,500              $562,399         $621,899
                    2014             $56,000              $357,862         $413,862


        29.     Defendant Thorlef Spickschen ("Spickschen") is a Clovis director and has been

 since April 2009. Defendant Spickschen is a member of Clovis' Compensation Committee and

 has been since at least April 2014. Defendant Spickschen knowingly or recklessly: (i) fostered a

 culture of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to operate

 for years with significant deficiencies in its drug trial controls and reporting controls; (iii) caused

 or allowed Clovis to fail to comply with FDA rules and regulations concerning drug trial data and

 reporting; (iv) failed to ensure the Company's clinical data was accurately presented to the FDA

 and to the investing public; and (v) caused or allowed the Individual Defendants to make improper


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 public statements about Clovis' business, including with respect to the Offering. Defendant

 Spickschen also negligently violated section 14(a) of the Exchange Act by causing Clovis to make

 misleading statements in the 2015 Proxy. Clovis paid defendant Spickschen the following

 compensation as a director:

                     Fiscal                                 Option
                      Year      Fees Paid in Cash          Awards           Total
                     2015            $47,188               $562,399       $609,587
                     2014            $45,000               $357,862       $402,862


         30.    Defendant Keith Flaherty ("Flaherty") is a Clovis director and has been since June

 2013.   Defendant Flaherty is a member of Clovis' Nominating and Corporate Governance

 Committee and has been since December 2014. Defendant Flaherty knowingly or recklessly: (i)

 fostered a culture of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to

 operate for years with significant deficiencies in its drug trial controls and reporting controls; (iii)

 caused or allowed Clovis to fail to comply with FDA rules and regulations concerning drug trial

 data and reporting; (iv) failed to ensure the Company's clinical data was accurately presented to

 the FDA and to the investing public; and (v) caused or allowed the Individual Defendants to make

 improper public statements about Clovis' business, including with respect to the Offering.

 Defendant Flaherty also negligently violated section 14(a) of the Exchange Act by causing Clovis

 to make misleading statements in the 2015 Proxy. Clovis paid defendant Flaherty the following

 compensation as a director:

                     Fiscal                                 Option
                      Year      Fees Paid in Cash          Awards           Total
                     2015            $45,000               $562,399       $607,399
                     2014            $40,417               $357,862       $398,279




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        31.     Defendant Ginger L. Graham ("Graham") is a Clovis director and has been since

 June 2013. Defendant Graham is a member of Clovis' Compensation Committee and has been

 since December 2014. Defendant Graham knowingly or recklessly: (i) fostered a culture of

 lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to operate for years

 with significant deficiencies in its drug trial controls and reporting controls; (iii) caused or allowed

 Clovis to fail to comply with FDA rules and regulations concerning drug trial data and reporting;

 (iv) failed to ensure the Company's clinical data was accurately presented to the FDA and to the

 investing public; and (v) caused or allowed the Individual Defendants to make improper public

 statements about Clovis' business, including with respect to the Offering. Defendant Graham also

 negligently violated section 14(a) of the Exchange Act by causing Clovis to make misleading

 statements in the 2015 Proxy. Clovis paid defendant Graham the following compensation as a

 director:

                     Fiscal                                 Option
                      Year      Fees Paid in Cash          Awards           Total
                     2015            $47,188               $562,399       $609,587
                     2014            $40,417               $357,862       $398,279


        32.     Defendant Mast was a co-founder of Clovis and served as the Company's Chief

 Financial Officer and Executive Vice President from April 2009 to March 2016. Defendant Mast

 was named as a defendant in the Securities Class Action that alleged he violated sections 10(b)

 and 20(a) of the Exchange Act and sections 11, 12(a)(2), and 15 of the Securities Act. Defendant

 Mast knowingly, recklessly, or with gross negligence: (i) fostered a culture of lawlessness and

 unethical behavior at Clovis; (ii) caused or allowed Clovis to operate for years with significant

 deficiencies in its drug trial controls and reporting controls; (iii) caused or allowed Clovis to fail

 to comply with FDA rules and regulations concerning drug trial data and reporting; (iv) failed to


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 ensure the Company's clinical data was accurately presented to the FDA and to the investing

 public; and (v) caused or allowed the Individual Defendants to make improper public statements

 about Clovis' business, including with respect to the Offering. Clovis paid defendant Mast the

 following compensation as an executive:

                                                    Option         All Other
              Year     Salary        Bonus         Awards        Compensation         Total
              2015    $410,000      $61,182       $1,782,102       $15,522         $2,268,806
              2014    $395,217      $180,000      $3,222,177       $15,146         $3,812,540


        33.      Defendant Allen was a co-founder of Clovis and served as the Company's Chief

 Medical Officer and Executive Vice President of Clinical and Pre-Clinical Development from

 April 2009 to July 2015. Defendant Allen was named as a defendant in the Securities Class Action

 that alleged he violated sections 10(b) and 20(a) of the Exchange Act and sections 11, 12(a)(2),

 and 15 of the Securities Act. Defendant Allen knowingly, recklessly, or with gross negligence: (i)

 fostered a culture of lawlessness and unethical behavior at Clovis; (ii) caused or allowed Clovis to

 operate for years with significant deficiencies in its drug trial controls and reporting controls; (iii)

 caused or allowed Clovis to fail to comply with FDA rules and regulations concerning drug trial

 data and reporting; (iv) failed to ensure the Company's clinical data was accurately presented to

 the FDA and to the investing public; and (v) caused or allowed the Individual Defendants to make

 improper public statements about Clovis' business, including with respect to the Offering. Clovis

 paid defendant Allen the following compensation as an executive:

                                                    Option         All Other
              Year     Salary        Bonus         Awards        Compensation         Total
              2015    $324,578          -         $4,644,470       $13,121         $4,982,169
              2014    $441,350      $202,500      $3,222,177       $15,474         $3,881,501




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        34.     The defendants identified in ¶¶21-23, 32-33 are referred to herein as the "Officer

 Defendants." The defendants identified in ¶¶21, 24-31 are referred to herein as the "Director

 Defendants." The defendants identified in ¶¶24-26, 30 are referred to herein as the "Nominating

 and Corporate Governance Committee Defendants." Collectively, the defendants identified in

 ¶¶21-33 are referred to herein as the "Individual Defendants."

                        DUTIES OF THE INDIVIDUAL DEFENDANTS

 Fiduciary Duties

        35.     By reason of their positions as officers and directors of the Company, each of the

 Individual Defendants owed and owe Clovis and its stockholders fiduciary obligations of trust,

 loyalty, good faith, and due care, and were and are required to use their utmost ability to control

 and manage Clovis in a fair, just, honest, and equitable manner. The Individual Defendants were

 and are required to act in furtherance of the best interests of Clovis and not in furtherance of their

 personal interest or benefit.

        36.     To discharge their duties, the officers and directors of Clovis were required to

 exercise reasonable and prudent supervision over the management, policies, practices, and controls

 of the financial affairs of the Company. By virtue of such duties, the officers and directors of

 Clovis were required to, among other things:

                (a)     properly and accurately guide investors and analysts as to the true financial

 condition of the Company at any given time, including making accurate statements about the

 Company's business prospects;

                (b)     conduct the affairs of the Company in an efficient, business-like manner in

 compliance with all applicable laws, rules, and regulations; and



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                  (c)    remain informed as to how Clovis conducted its operations, and, upon

 receipt of notice or information of imprudent or unsound conditions or practices, make reasonable

 inquiry in connection therewith, and take steps to correct such conditions or practices and make

 such disclosures as necessary to comply with applicable laws.

 Additional Duties Pursuant to the Company's Code of Business Ethics

        37.       Clovis' Code of Business Ethics (the "Code") is purportedly intended to provide "a

 clear understanding of the principles of business conduct and ethics that are expected of … every

 full and part-time employee of the Company and its subsidiaries, all members of the Company's

 senior management, including the Company's Chief Executive Officer and Chief Financial Officer,

 and every member of the Company's Board of Directors, even if such member is not employed by

 the Company." According to the Code, if anyone violates ethical business standards or "fail[s] to

 exercise appropriate supervision or oversight to detect and report such behavior … he or she can

 expect a disciplinary response, up to and including termination of any employment or other

 relationship with the Company, and possibly other legal action." Moreover, the Company requires

 that all officers and directors must "be honest, fair, and accountable in all business dealings and

 obligations, and to ensure [among other things]":

                 Full, fair, accurate, timely and understandable disclosure in the reports
                  required to be filed by the Company with the Securities and Exchange
                  Commission; and

                 Compliance with applicable governmental rules and regulations.

 Additional Duties of the Committee Defendants

        38.       The Nominating and Corporate Governance Committee Defendants, defendants

 Atwood, Barrett, Blair, and Flaherty, also owed additional specific duties to Clovis.          The



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 Nominating and Corporate Governance Committee Defendants were tasked with "develop[ing]

 and oversee[ing] the effectiveness of the Company's legal, ethics, and regulatory compliance

 matters." Moreover, the Nominating and Corporate Governance Committee Defendants were

 specifically tasked with various compliance matters, and were required to, among other things:

                 Provide general compliance oversight and periodically receive updates
                  about the compliance program from the Corporate Compliance Officer;

                 Review the status and effectiveness of the Company's compliance programs
                  with respect to non-financial regulatory requirements;

                                            * * *

                 Serve as the committee to whom violations are to be reported, and
                  investigate alleged misconduct;

                 Establish, review and update periodically the Company's Code of Business
                  Ethics and ensure that management has established a system to implement
                  a training system around the code and enforce the Code; and

                 Periodically review with the Company's management any legal matters that
                  could have a significant impact on the Company, including but not limited
                  to, government investigations, qui tam lawsuits, other laws and regulations
                  affecting the Company's manufacture, distribution and sale of its products
                  worldwide and other claims relating to actual or alleged regulatory or
                  compliance matters.

        39.       Additionally, under the Audit Committee Charter, the Audit Committee, consisting

 of defendants Atwood, Klingenstein, and McKinley, has additional duties and is tasked with,

 among other things:

        The Committee shall discuss with management and the independent auditor
        [Clovis'] earnings press releases (with particular focus on any " pro forma" or
        "adjusted" non-GAAP financial information), as well as financial information and
        earnings guidance provided to analysts and rating agencies. The Committee's
        discussion in this regard may be general in nature (i.e., discussion of the types of
        information to be disclosed and the type of presentation to be made). The




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        Committee should be furnished with an advance copy of each earnings release for
        its review prior to publication.

                                           * * *

        If and when applicable, the Committee shall periodically consider and discuss with
        management and the independent auditor [Clovis'] Code of Business Ethics and
        the procedures in place to enforce the Code of Business Ethics. If and when
        applicable, the Committee shall also consider and discuss and, as appropriate, grant
        requested waivers from the Code of Business Ethics brought to the attention of the
        Committee, though the Committee may defer any decision with respect to any
        waiver to the Board.

 Breaches of Duties

        40.     The conduct of the Individual Defendants complained of herein involves a knowing

 and culpable violation of their obligations as officers and directors of Clovis, the absence of good

 faith on their part, and a reckless disregard for their duties to the Company that the Individual

 Defendants were aware or reckless in not being aware posed a risk of serious injury to the

 Company.

        41.     The Individual Defendants breached their duty of loyalty and good faith by

 allowing defendants to cause, or by themselves causing, the Company to misrepresent its business

 prospects for years, including with respect to the safety and efficacy of Clovis' primary drug in the

 Company's pipeline. Defendants further failed to implement proper internal controls to ensure the

 Company followed proper and well-known drug testing and reporting standards, and to ensure

 material information was adequately and timely disclosed to the SEC and investing public. These

 improper practices caused Clovis to incur substantial damage.

        42.     The Individual Defendants, because of their positions of control and authority as

 officers and/or directors of Clovis, were able to and did, directly or indirectly, exercise control

 over the wrongful acts complained of herein. The Individual Defendants also failed to prevent the


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 other Individual Defendants from taking such illegal actions. As a result, and in addition to the

 damage the Company has already incurred, Clovis has expended, and will continue to expend,

 significant sums of money.

         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

        43.     In committing the wrongful acts alleged herein, the defendants have pursued, or

 joined in the pursuit of, a common course of conduct, and have acted in concert with and conspired

 with one another in furtherance of their common plan or design. In addition to the wrongful

 conduct herein alleged as giving rise to primary liability, the defendants further aided and abetted

 and/or assisted each other in breaching their respective duties.

        44.     The purpose and effect of the defendants' conspiracy, common enterprise, and/or

 common course of conduct was, among other things, to disguise their violations of law, breaches

 of fiduciary duty, waste of corporate assets, and unjust enrichment; and to conceal adverse

 information concerning the Company's operations.

        45.     Because the actions described herein occurred under the authority of the Board,

 each of the Individual Defendants was a direct, necessary, and substantial participant in the

 conspiracy, common enterprise, and/or common course of conduct complained of herein.

        46.     Each of the defendants aided and abetted and rendered substantial assistance in the

 wrongs complained of herein. In taking such actions to substantially assist the commission of the

 wrongdoing complained of herein, each defendant acted with knowledge of the primary

 wrongdoing, substantially assisted in the accomplishment of that wrongdoing, and was aware of

 his or her overall contribution to and furtherance of the wrongdoing.




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                                         BACKGROUND

        47.     Clovis is a biopharmaceutical company focused on acquiring, developing, and

 commercializing cancer treatments in the United States, Europe, and additional international

 markets. The Company's development programs are targeted at specific subsets of cancer. During

 the relevant period, Clovis had no marketed products, with a pipeline of just three drugs, including

 rociletinib, rucaparib, and lucitanib. As such, Clovis has long been heavily reliant on investor

 capital to keep the Company afloat and fund research.

        48.     For years, rociletinib was the most important drug in Clovis' pipeline, and was

 presented to investors as a breakthrough therapy in the treatment of lung cancer for patients who

 develop resistance to front-line treatments, an estimated $3 billion untapped market. Typically,

 the front-line lung cancer treatment drugs are designed to inhibit mutated cells from

 indiscriminately multiplying and proliferating tumor growth. The majority of patients treated with

 these front-line drugs, however, develop a resistance to the treatment within about a year. In

 approximately 60% of such resistance cases, the resistance to treatment is caused by a secondary

 mutation which changes certain cell structures and eliminates the effectiveness of front-line

 treatments. Rociletinib was supposed to provide an effective treatment for these patients who

 exhibited resistance due to the secondary mutation.

        49.     When Clovis first began testing rociletinib, the $3 billion market for the drug lacked

 any apparent competition. By late 2013, however, a potential rival began to emerge. Specifically,

 pharmaceutical giant AstraZeneca disclosed that it was developing a competing drug called

 Tagrisso. As defendant Mahaffy acknowledged during an October 31, 2013 earnings call, Clovis

 was "in a race [with AstraZeneca,] a very able competitor with an active drug." Thus, in order to



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 effectively compete with AstraZeneca, Clovis needed to demonstrate that rociletinib was at least

 as effective as Tagrisso.

        50.     In or about early 2014, Clovis began a Phase II2 clinical trial for reciletinib called

 TIGER-X, and thereafter began an additional efficacy Phase II trial called TIGER-2. The TIGER-

 X and TIGER-2 trials were "open label" studies, meaning the trial data was unblinded and fully

 available to Clovis and the Individual Defendants throughout the lives of the studies.

        51.     The single most critical metric of both TIGER trials was rociletinib's objective

 response rate, or ORR. ORR, which describes the percentage of patients who experience clinically

 meaningful tumor shrinkage, is widely considered to be the most meaningful biomarker supporting

 a drug's utility as a measure of promising treatment effect in Phase II screening trials.

        52.     The rules for calculating ORR are explicitly defined in the definitive cancer trial

 standards known as RECIST. RECIST expressly states that each observation of tumor shrinkage

 (or "response") must be "confirmed" by subsequent observation. If a response is not confirmed,

 it cannot be included in the calculation of ORR, because confirmation is essential to ensuring that

 reported results are reliable, reproducible, and do not overstate a drug's efficacy.

        53.     Clovis expressly incorporated RECIST guidelines into the TIGER-X and TIGER-

 2 protocols, thus was required to only calculate ORR using confirmed responses, believing that

 using RECIST protocols, among the more prominent of trial protocols, would be well received by

 investors and stockholders. Indeed, the Company publicly disclosed that the primary objective of

 both trials was "[t]o evaluate tumor response" with a primary endpoint of "ORR and duration of


 2
  The purpose of Phase II trials is to test the efficacy and safety of drug candidates for potential
 FDA approval.



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 response per RECIST Version 1.1." The TIGER protocols themselves also defined the studies'

 primary endpoint as ORR "per RECIST Version 1.1." The protocols further stated that "[t]he

 efficacy endpoints will be evaluated using RECIST Version 1.1" and that "[t]umor response will

 be interpreted using RECIST Version 1.1."3

        THE INDIVIDUAL DEFENDANTS CAUSED OR ALLOWED CLOVIS TO
     REPEATEDLY MISREPRESENT DATA AND MAKE IMPROPER STATEMENTS
          CONCERNING THE SAFETY AND EFFICACY OF ROCILETINIB

        54.     As detailed below, for years, the Individual Defendants repeatedly misrepresented

 that rociletinib was performing exceptionally well in the TIGER trials with strong safety and an

 impressive ORR of about 60%. The Individual Defendants further repeatedly misrepresented these

 impressive results were based on confirmed responses per RECIST.

        55.     On May 31, 2014, a few weeks after AstraZeneca reported a confirmed ORR for

 Tagrisso of at least 56%, Clovis presented at the 2014 American Society of Clinical Oncology

 ("ASCO") medical conference and reported the first rociletinib efficacy results from the

 Company's Phase II TIGER-X trial. Specifically, the Company reported that rociletinib exhibited

 an impressive "58% objective response rate" in the Company's targeted patients who had

 developed a secondary mutation resistance to front-line lung cancer drugs, and further expressly

 stated that the ORR was evaluated "per RECIST v1.1."

        56.     Also on May 31, 2014, the Company issued a press release that was shortly

 thereafter filed on Form 8-K with the SEC reiterating rociletinib's purported 58% ORR without


 3
  The TIGER-X protocols further explicitly stated that tumor assessments would be performed "at
 screening; at the end of Cycles 2, 4, and 6 (between Days 14 and 21); every 3 cycles after Cycle 6
 (between Days 14 and 21); and at the end-of-study visit." Moreover, each "Cycle" lasted twenty-
 one days.



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 disclosing that the results were primarily unconfirmed, while defendant Mahaffy proclaimed that

 Clovis was "extremely pleased with the consistency of the efficacy demonstrated to date, the

 growing evidence of a lengthy duration of benefit and that [rociletinib] is so well-tolerated with a

 manageable side effect profile." The press release stated:

        CLOVIS ONCOLOGY'S CO-1686 DEMONSTRATES COMPELLING
        CLINICAL ACTIVITY AND PROGRESSION-FREE SURVIVAL (PFS) IN
        UPDATED PHASE 1/2 STUDY RESULTS IN PATIENTS WITH EGFR-
        MUTANT NON-SMALL CELL LUNG CANCER (NSCLC)

               58% objective response rate observed to date in 40 evaluable heavily-
                pretreated T790M+ patients in Phase 1 and early Phase 2 expansion cohorts

               Current estimate of median PFS greater than 12 months in T790M+ patient
                population; observed median not yet reached

               Well-tolerated – majority of treatment-related adverse events are grade 1-2
                and manageable

               Only TKI to completely spare wild-type EGFR signaling

               Breakthrough Therapy designation granted by FDA earlier this month

               New Drug Application (NDA) submission planned by mid-2015

        CHICAGO--(BUSINESS WIRE)--May 31, 2014-- Clovis Oncology
        (NASDAQ:CLVS) announced today updated findings from the Phase 1 and early
        Phase 2 portions of its ongoing Phase 1/2 clinical study of CO-1686, the Company's
        novel, oral, targeted covalent (irreversible) inhibitor of mutant forms of the
        epidermal growth factor receptor (EGFR) for the treatment of non-small cell lung
        cancer in patients with initial activating EGFR mutations as well as the dominant
        resistance mutation T790M. These data are being presented today in an oral
        presentation by Dr. Lecia Sequist at the 2014 American Society of Clinical
        Oncology (ASCO) annual meeting in Chicago.

        "Currently, there are no approved treatments for EGFR patients with acquired
        resistance to targeted therapy," said Lecia V. Sequist, MD, MPH, Massachusetts
        General Hospital Cancer Center and Associate Professor of Medicine at Harvard
        Medical School and the lead investigator for the Phase 1/2 study of CO-1686. "This
        ever-growing population of patients is in dire need of effective agents. The initial
        experience with CO-1686 provides hope that we are finally entering an era where
        we may be able to successfully target resistance to EGFR inhibitors."


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      "In the year since our first presentation of clinical data for CO-1686, we have made
      great strides in the development of this drug," said Patrick J. Mahaffy, President
      and CEO of Clovis Oncology. "We are extremely pleased with the consistency of
      the efficacy demonstrated to date, the growing evidence of a lengthy duration of
      benefit and that CO-1686 is so well-tolerated with a manageable side effect
      profile. Additionally, the receipt of Breakthrough Therapy Designation from FDA
      earlier this month supports our commitment to file an NDA by mid-2015 and make
      this drug available to treating physicians and the patients that may benefit as rapidly
      as possible."

      The Phase 1 dose escalation portion of the study is being conducted in the United
      States, France and Australia in patients with metastatic or unresectable recurrent
      NSCLC and a documented EGFR mutation. Patients were not required to be
      T790M positive for the Phase 1 portion of the study but had to have progressed on
      prior EGFR-directed tyrosine kinase inhibitor (TKI) therapy (prior chemotherapy
      was also allowed).

      The two Phase 2 expansion cohorts are currently enrolling in the United States,
      Europe, and Australia in EGFR mutant patients with the T790M mutation. The first
      cohort includes approximately 150 to 200 T790M positive patients directly after
      progression on their first and only TKI therapy, comparable to the population
      planned for the TIGER2 registration study. The second cohort includes
      approximately 150 to 200 later-line T790M positive patients after progression on
      their second or later TKI therapy or subsequent chemotherapy. Both cohorts are
      exploring doses of 500mg, 625mg and 750mg BID.

      Approximately 160 patients have been treated with CO-1686 to date across all
      dosing cohorts in the trial. Data from 81 evaluable patients treated with CO-1686
      at efficacious doses (comprising patients treated with 900mg BID of freebase or
      any dose of the hydrobromide salt (HBr) formulation) were presented today,
      including 72 from the Phase 1 study and nine from the early part of the Phase 2
      portion of the study. Of these 81 patients, 40 are centrally-confirmed T790M
      positive.

      Patients enrolled in the Phase 1 study were heavily pretreated prior to receiving
      CO-1686; 75 percent of patients across all doses had immediately progressed on
      TKI therapy prior to CO-1686 treatment. The median number of previous lines of
      therapy across patients at all doses was three; the median number of previous TKI
      lines was two.

      Evidence of Activity

      In the 40 evaluable centrally-confirmed T790M positive patients across efficacious
      dose levels in the Phase 1 dose-expansion study and the early Phase 2 expansion
      cohorts, 23 partial responses (PRs) have been observed to date, for a 58 percent


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        objective response rate (ORR). Thirty-six of the 40 evaluable T790M positive
        patients, or 90 percent, have experienced stable disease or a PR. Central nervous
        system (CNS) responses have also been observed in heavily pre-treated T790M
        positive patients.

        The median duration of response cannot yet be determined in the T790M positive
        patients. Similarly, median PFS has not been reached. However, follow-up for some
        patients exceeds one year, and the current estimate for median PFS is greater than
        12 months.

        Safety and Tolerability

        CO-1686 is well-tolerated, with no evidence of systemic wild-type EGFR
        inhibition. In the Phase 1 study, the most common adverse events were nausea,
        hyperglycemia, diarrhea, vomiting and decreased appetite, and these were mostly
        grade 1 or 2 in severity. The most common grade 3 adverse event was
        hyperglycemia, which was observed in 22 percent of patients. Hyperglycemia,
        when observed and requiring treatment, is typically managed with a commonly-
        prescribed single oral agent.

        57.     At the ASCO medical conference, defendant Allen, co-founder of Clovis and the

 Company's then Chief Medical Officer, repeated that rociletinib exhibited a "58 percent objective

 response rate" in patients who had developed a secondary mutation resistance across all rociletinib

 doses, and also explicitly reminded investors that "the primary outcome for Phase 2 is objective

 response rates with duration of response using RECIST 1.1." In other words, by definition of

 RECIST standards, defendant Allen specifically assured investors that the ORRs were confirmed.

        58.     On August 7, 2014, Clovis issued a press release that was shortly thereafter filed

 on Form 8-K with the SEC. The press release again misleadingly touted that "patients treated at a

 therapeutic dose of rociletinib included a 58 percent objective response rate." The same day,

 defendant Mahaffy reiterated rociletinib's purported 58% ORR during a conference call with

 investors, and further boasted that this seemingly impressive ORR was one of the "[h]ighlights of

 the data presented at ASCO." Defendant Mahaffy further expressed that Clovis was seeing "clear




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 evidence of meaningful activity in [tested] patients," that the Company was "extremely

 enthusiastic about moving the rociletinib program forward rapidly [and] ensuring it can be

 approved and made available for the large number of patients for whom it may provide benefit,"

 and that the "[TIGER studies] remain on track … to serve as the basis for NDA submission by

 mid-2015." Finally, defendant Mahaffy assured investors that "[t]he data are open to [Clovis],"

 and that the Company would "continue to provide updates [because Clovis] know[s] that's

 important to investors." These positive statements had the desired effect on Clovis' stock price.

 By the end of August 2014, Clovis' common stock was trading above $49 per share an increase of

 30% from the $38 per share it was trading at just two months earlier in June 2014.

        59.     On September 9, 2014, Clovis participated in the annual Morgan Stanley

 Healthcare Conference.      Defendant Mahaffy again suggested that rociletinib's ORR was

 approximately 60%, by stating that the drug had a "similar response rate" to Tagrisso, which had

 long been reporting an approximate 60% response for resistant patients.

        60.     On November 18, 2014, a few days before the 26th EORTC-NCI-AACR4

 Symposium on Molecular Targets and Cancer Therapeutics (the "ENA Symposium"), Clovis

 issued a press release boasting that rociletinib demonstrated an impressive ORR of more than 60%

 at two different doses for which the Company planned to seek approval, including 500mg and

 625mg twice-daily or, "BID." In particular, the press release stated:




 4
  The European Organisation for the Research and Treatment of Cancer ("EORTC"), the National
 Cancer Institute ("NCI"), and American Association for Cancer Research ("AACR").


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        Evidence of Activity

        The objective response rate (ORR) in 27 evaluable T790M-positive patients
        receiving either 625 or 500mg BID was 67%. The ORR was comparable in the
        625mg BID and the 500mg BID dose groups.

        61.      On November 21, 2014, Clovis presented the above results at the ENA Symposium,

 a global drug development and research meeting attended by thousands of academics, scientists,

 and pharmaceutical industry representatives, which is jointly hosted by the EORTC, NCI, and

 AACR. During the symposium, the presentation from Clovis grossly misrepresented that the

 Company observed "durable RECIST responses, particularly in [patients who had developed a

 secondary mutation resistance]."      The presentation failed to disclose that the ORRs were

 unconfirmed, as required per RECIST's definition of ORR, and misrepresented the "durability" of

 the responses given that the responses were unconfirmed and thus lacked any credible evidence of

 "durability."   Later the same day, defendant Mahaffy touted rociletinib's purported "strong

 response rates" during an ENA Symposium update conference call with investors.

        62.      By early 2015, the principal side effects of Tagrisso, rociletinib's closest

 competition, were becoming more evident and included rash and diarrhea, which many doctors

 viewed as significantly detrimental to patients' quality of life. At the same time, the response rates

 that were being reported for Tagrisso and rociletinib appeared fairly comparable (due to Clovis'

 misrepresentations) at around 60%. Thus, in order to distinguish rociletinib from Tagrisso, the

 Individual Defendants began to increasingly tout rociletinib's supposedly strong safety profile. As

 was later revealed by the FDA, however, by no later than January 2015, Clovis' data showed that

 rociletinib patients experienced a greater risk of "QT prolongation," a delayed heart repolarization

 that increases the risk of serious and fatal cardiac arrhythmias and sudden cardiac death. In fact,



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 by that time, rociletinib patients had experienced at least two sudden deaths, at least three cases of

 serious ventricular tachyarrhythmia, and at least one case of serious arrhythmia known as Torsades

 de pointes.

        63.     On February 12, 2015, at an investor conference, defendant Mast proclaimed that

 rociletinib had a "very manageable side effect profile" and the "primary side effect that comes with

 rociletinib that is easily managed is hyperglycemia." Similarly, during a May 6, 2015 earnings

 conference call, defendant Mahaffy boasted that "[o]verall, rociletinib is well tolerated with

 treatment related adverse events generally infrequent and mild, with the only grade 3 adverse event

 of note, hyperglycemia, which when observed and requiring treatment is typically managed with

 a commonly prescribed single oral agent."

        64.     On April 30, 2015, Clovis published data from the TIGER-X trial in one of the most

 widely read medical journals, the New England Journal of Medicine. The article, which was co-

 authored by defendant Allen, again presented misleading ORR results, including a purported 59%

 ORR across all rociletinib doses in patients who had developed a secondary mutation resistance.

 The article failed to disclose that such responses were not confirmed, and further continued to

 misrepresent that "[t]umor response was assessed according to the Response Evaluation Criteria

 in Solid Tumors (RECIST), version 1.1," which by definition requires confirmed responses.

        65.     On May 31, 2015, in anticipation of the Company's upcoming $300 million public

 Offering, Clovis presented data at the 2015 ASCO medical conference. The data was purportedly

 a preview of the dataset the Company would ultimately submit to the FDA for the rociletinib NDA.

 During the presentation, the Individual Defendants continued to grossly misrepresent rociletinib's

 efficacy and safety profile. In particular, the presentation claimed that for patients who had



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 developed a secondary mutation resistance, Clovis had observed an "ORR of 60%" at the

 "recommended dose" of 500mg BID, "demonstrat[ing] compelling activity," and a 54% ORR at

 the step-up dose of 625mg.

           66.   The same day, defendants participated in a conference call with investors.

 Defendant Allen boasted that the Company had "very consistently shown an objective response

 rate of around 60%" in patients who had developed a secondary mutation resistance. Defendant

 Allen again failed to disclose that most responses were not confirmed, and instead wrongfully

 touted that Clovis had "seen these consistent responses with durable patient benefit in now a large,

 very advanced western patient population using our commercial drug formulation."

           67.   Clovis also issued a press release on May 31, 2015, trumpeting similar impressive

 results for rociletinib. Specifically, the press release proclaimed rociletinib had a "60% overall

 response rate," and was "[w]ell-tolerated." The press release further stated the results were

 "consistent and promising" and quoted defendant Mahaffy stating that "responses and durability

 of this magnitude in a very advanced U.S. patient population … is extremely encouraging."

 Defendant Mahaffy further stated that "[t]hese maturing data confirm rociletinib's compelling

 activity in patients with the most advanced stage of [certain] muta[tions]…." The press release

 stated:

           CLOVIS ONCOLOGY'S ROCILETINIB (CO-1686) PHASE 2 STUDY
           RESULTS DEMONSTRATE CONSISTENT AND PROMISING CLINICAL
           ACTIVITY AND DISEASE CONTROL IN VERY ADVANCED PATIENTS
           WITH EGFR-MUTANT NON-SMALL CELL LUNG CANCER (NSCLC)

                60% overall response rate (ORR) and 90% disease control rate (DCR) in
            heavily pretreated centrally confirmed tissue T790M-positive patients

                Median progression free survival (PFS) of 10.3 months observed in patients
            without a history of CNS metastases; median PFS of 8 months observed in overall


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        population of 270 heavily pretreated centrally confirmed tissue T790M-positive
        patients, including 40% of patients with a history of CNS metastases

            Compelling activity in T790M-negative disease with 37% ORR observed

             57% ORR and 80% DCR in heavily pretreated centrally confirmed plasma-
        genotyped T790M-positive patients – may allow for broader testing for mutations
        in patients ineligible for tissue biopsy

            Well-tolerated; only common grade 3 treatment-related adverse event (AE)
        observed is hyperglycemia

            Breakthrough Therapy designation granted by the U.S. FDA; U.S. and E.U.
        regulatory submissions to complete in July 2015

      CHICAGO--(BUSINESS WIRE)--May 31, 2015-- Clovis Oncology
      (NASDAQ:CLVS) announced today updated findings from its Phase 2 clinical
      study of rociletinib (CO-1686), the Company's novel, oral, targeted covalent
      (irreversible) mutant-selective inhibitor of the epidermal growth factor receptor
      (EGFR) for the treatment of non-small cell lung cancer (NSCLC) in patients with
      initial activating EGFR mutations, as well as the dominant resistance mutation
      T790M. These data from the TIGER-X trial are being presented today in an oral
      presentation (Abstract #8001) at the 2015 American Society of Clinical Oncology
      (ASCO) annual meeting in Chicago.

      "The maturing data for rociletinib confirm in a large patient population what we
      have seen in our early clinical experience," said Jonathan Goldman, MD, TIGER-
      X investigator and Assistant Professor, UCLA Hematology & Oncology, Associate
      Director of Drug Development and Director of Clinical Trials in Thoracic
      Oncology. "Rociletinib has shown very encouraging and durable activity in the
      most advanced mutant EGFR lung cancer patients, including in a large population
      of patients with CNS metastases. Importantly, the data continue to show activity in
      both T790M-positive and T790M-negative patients, which gives us a potential
      treatment option for all patients who have progressed on their initial EGFR targeted
      therapy."

      "To show responses and durability of this magnitude in a very advanced U.S.
      patient population, of whom nearly half have a history of CNS metastases, is
      extremely encouraging," said Patrick J. Mahaffy, President and CEO of Clovis
      Oncology. "These maturing data confirm rociletinib's compelling activity in
      patients with the most advanced stage of mutant EGFR NSCLC and form the basis,
      along with additional data from TIGER-2, of our U.S. and E.U. regulatory filings
      beginning next month."




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      Data presented today are from the TIGER-X trial of 456 mutant EGFR NSCLC
      patients treated with rociletinib tablets at each of the efficacious dose groups
      studied (all doses BID): 500mg (n=119), 625mg (n=236), 750mg (n=95) and
      1000mg (n=6) doses. Efficacy data from 243 centrally confirmed tissue T790M-
      positive patients, 35 centrally confirmed tissue T790M-negative patients and 147
      plasma T790M-positive patients were also presented.

      The study is being conducted at sites in the U.S., Europe and Australia, with greater
      than 80 percent of study participants enrolled at U.S. sites.

      Patients enrolled in trial were heavily pretreated prior to receiving rociletinib.
      Eighty-two percent of patients across all doses had immediately progressed on TKI
      therapy prior to rociletinib treatment. The median number of previous lines of
      therapy across patients at all doses was two. Seventy-two percent of patients had
      an ECOG performance score of one or higher.

      Additionally, patients with stable CNS metastases were allowed in the trial. Forty-
      one percent of study participants had a history of CNS metastases, consistent with
      the study population being drawn largely from U.S. academic centers where more
      advanced patients are often referred for continuing management of progressive
      disease after standard therapy.

      Data from this study, combined with data from the TIGER-2 study, will form the
      U.S. New Drug Application (NDA) and E.U. Marketing Authorization Application
      (MAA) submission packages in July.

      Evidence of Activity

      A total of 243 centrally confirmed tissue T790M-positive patients were evaluable
      in the four dose subgroups (all doses BID): 500mg (n=48), 625mg (n=114), 750mg
      (n=77) and 1000mg (n=4).

      At the recommended dose of 500mg, a 60 percent ORR and a 90 percent DCR was
      observed, and across all doses, a 53 percent ORR and an 85 percent DCR was
      observed.

      At the time of analysis, a median PFS of 10.3 months was observed in 163 heavily
      pretreated centrally confirmed tissue T790M-positive patients without a history of
      CNS metastases, while a median PFS of 8 months was observed in 270 heavily
      pretreated centrally confirmed tissue T790M-positive patients, of whom 40 percent
      had a history of CNS metastases. Clinical benefit was durable with some patients
      on drug for over two years without disease progression. These data continue to
      mature.




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      A total of 147 evaluable plasma T790M-positive patients were treated with
      rociletinib; in those treated with 500mg, a 57 percent ORR and an 80 percent DCR
      has been observed to date, and at all doses, a 53 percent ORR and an 82 percent
      DCR has been observed, which is highly consistent with the comparable tissue
      outcomes data. These data suggest that T790M plasma testing may be an alternative
      to tissue testing.

      Rociletinib activity was also observed in 35 evaluable T790M-negative patients
      treated at all doses. A 37 percent ORR has been observed, in a range of 32 to 39
      percent across doses studied. Eighty-six percent of these patients were treated with
      rociletinib directly after TKI therapy, so a TKI re-treatment effect cannot be the
      driver of this activity.

      Safety and Tolerability

      The data presented at ASCO continue to demonstrate rociletinib is well tolerated.
      In the 500mg dose group, the most common treatment-related AEs reported in
      greater than 10 percent of all patients included hyperglycemia, diarrhea and nausea.

      Across all doses, most AEs were grade 1 or 2 in severity. The only common grade
      3 treatment-related AE was hyperglycemia, which was observed in 17 percent of
      patients treated with rociletinib 500mg (20/119), 24 percent of patients treated with
      the 625mg dose (56/236), 36 percent of patients treated with the 750mg dose
      (34/95) and 33 percent of patients treated with the 1000mg dose (2/6). Most AEs
      appear to be dose dependent.

      Hyperglycemia was readily managed with commonly prescribed oral agents and
      grade 3 hyperglycemia rates have decreased over time as routine monitoring was
      standardized in the clinical program for rociletinib. Specifically, prior to September
      2014, grade 3/4 hyperglycemia was observed in 22 percent of patients treated with
      rociletinib at 500mg. After September 2014, by which time routine monitoring had
      been implemented, grade 3 hyperglycemia was observed in only eight percent of
      such patients.

      No interstitial lung disease (ILD) was observed in the 500mg dose group. Across
      all doses, 1.5 percent (7/456) of patients developed ILD, and continuation of
      treatment with rociletinib was possible with the addition of steroid cover in recent
      cases. There have been no fatal cases of ILD.

      No paronychia or stomatitis was observed and any observed rash was minimal.
      Treatment-related AEs leading to drug discontinuation were observed in 2.5
      percent of cases at the recommended dose of 500mg, and in four percent of overall
      cases.




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        68.     According to documents recently published by the FDA, on June 9, 2015, just nine

 days after defendants publicly touted that rociletinib had "very consistently shown an [ORR] of

 around 60%," Clovis privately met with the FDA and privately disclosed significantly lower

 response rates. In particular, according to the FDA, during the June 9, 2015 meeting, "Clovis

 provided preliminary investigator-assessed ORR by dose" and "[a]t the 500mg BID and 625mg

 BID dose levels, Clovis reported ORR of 50% (24/48) and 49% (73/150), respectively." To make

 matters worse, even these numbers were grossly inaccurate because Clovis failed to inform the

 FDA that such ORR calculations were primarily based on unconfirmed responses. In any event,

 as detailed below, the Individual Defendants continued to publicly tout that rociletinib had a 60%

 ORR while also failing to disclose that the results were largely unconfirmed.

        69.     On June 22, 2015, less than two weeks after the pre-NDA meeting with the FDA,

 the Company abruptly announced that defendant Allen was resigning from Clovis "to create a new

 immune-oncology focused biotechnology company." Two days later, on June 24, 2015, Clovis

 filed its rolling NDA submission for rociletinib based on efficacy data primarily from the Phase II

 TIGER-X study.

        70.     On or about July 14, 2015, while Clovis' stock price was significantly inflated based

 on defendants' repeated misrepresentations and the recent NDA submission, the Company held the

 secondary Offering to sell over $316 million worth of stock at a price of approximately $78 per

 share. The Offering was conducted pursuant to a June 11, 2013, shelf registration statement filed

 with the SEC on Form S-3 and signed by defendants Mahaffy, Mast, Atwood, Barrett, Blair,

 Klingenstein, McKinley, and Spickschen. The prospectus supplement repeated substantially

 similar misrepresentations that the Individual Defendants had long touted. For example, the



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 prospectus supplement boasted that data from the TIGER-X trial showed a "60 percent ORR" at

 the "recommended dose of 500mg" and "across all doses, a 53 percent ORR [was] observed." The

 prospectus supplement further assured investors that the "[c]linical benefit" observed in the data

 was "durable" and "continue[d] to demonstrate rociletinib is well tolerated," that "[t]he only

 common grade 3 [side effect] was hyperglycemia," and that "hyperglycemia was readily managed

 with commonly prescribed oral agents."

         71.    As a result of the above misleading statements, the Offering raised more than $316

 million from public investors. After underwriting commissions, the Company reaped net total

 proceeds of approximately $298 million.

         72.    On August 3, 2015, Clovis finalized the rolling NDA submission and the Individual

 Defendants continued to boast about rociletinib's impressive efficacy and safety profile.

         73.    On September 8, 2015, Clovis made a presentation at the World Conference on

 Lung Cancer. During the conference, the Company reiterated its claim that rociletinib's "ORR in

 [patients who had developed a secondary mutation resistance] at the 500mg BID dosing level was

 60%."

         74.    The following week, defendant Mahaffy repeated these results at the Morgan

 Stanley Healthcare Conference and also claimed that "a very big positive is that [rociletinib] is the

 first and only mutant EGFR-directed therapy that doesn't cause rash and only a limited amount of

 diarrhea. So in terms of typical side effects ... we don't have them." Defendant Mahaffy further

 falsely stated that rociletinib and Tagrisso had similar response rates.

         75.    In October 2015, defendants privately submitted rociletinib data to the FDA that

 substantially contradicted their repeated previous public statements. Shockingly, the data showed



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 confirmed ORRs of just 28% in patients who had developed a secondary mutation resistance

 taking the recommended 500mg dose, and a confirmed ORR of just 34% for similar patients taking

 the 625mg dose. In other words, the confirmed ORR for patients taking the 500mg dose was less

 than half of the 60% ORR defendants repeatedly touted, while the confirmed ORR for patients

 taking the 625mg dose was nearly 40% less than the 54% ORR repeatedly touted. Even more

 shocking, defendants continued to publicly misrepresent the data thereafter.

        76.     On November 5, 2015, Clovis issued a press release that was shortly thereafter filed

 on Form 8-K with the SEC announcing the Company's third quarter 2015 results. In the press

 release and during a follow up earnings conference call with investors, the Individual Defendants

 utterly failed to disclose the truth about the above misrepresentations and instead directed investors

 to view the previously misrepresented and inflated ORR data at the Company's website. Worse,

 even when specifically asked by investors whether the public had "seen everything that the FDA

 is going to see" regarding the TIGER trials, defendant Mahaffy refused to disclose the true ORRs

 for rociletinib. Instead, defendant Mahaffy responded, "I'm going to stick to what we've said

 before."

        77.     According to recently released FDA documents, on November 9, 2015, the FDA

 specifically informed Clovis of "its disagreement with Clovis' reported efficacy results … based

 on Clovis' inclusion of patients with unconfirmed responses in the efficacy assessment," and

 "Clovis acknowledged that [the Company's] efficacy analysis had included patients with

 unconfirmed responses." As such, the "FDA requested that Clovis submit additional datasets

 including updated tumor measurement raw datasets."




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        78.     The very next day, on November 10, 2015, the Company's co-founder and then

 Chief Financial Officer, defendant Mast, attended the Credit Suisse Healthcare Conference and

 again misrepresented rociletinib's efficacy. Specifically, despite the Company's disclosures from

 the previous month to the FDA that rociletinib had confirmed ORRs of just 28% and 34%,

 respectively at the 500mg and 625mg doses, defendant Mast boasted that the "majority of patients

 received some sort of clinical benefit from taking rociletinib."

      THE INDIVIDUAL DEFENDANTS CAUSE CLOVIS TO FILE MATERIALLY
                     MISLEADING PROXY STATEMENT

        79.     On April 30, 2015, defendants Mahaffy, Atwood, Barrett, Blair, Flaherty, Graham,

 Klingenstein, McKinley, and Spickschen caused Clovis to file with the SEC its Proxy Statement

 on Schedule DEF 14A in connection with the 2015 Annual Meeting of Stockholders, held on June

 11, 2015 (the "2015 Proxy"). In the 2015 Proxy, defendants solicited stockholder votes to, among

 other things, reelect defendants Mahaffy, Barrett, and Spickschen to the Board. Defendants issued

 materially misleading statements with respect to these solicited votes to reelect defendants

 Mahaffy, Barrett, and Spickschen to the Board and secure their prestigious positions, and to retain

 their underserved director compensation. Plaintiff's allegations with respect to the materially

 misleading statements in the 2015 Proxy are based solely on negligence; they are not based on any

 allegation of reckless or knowing conduct by or on behalf of these defendants, and they do not

 allege and do not sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon

 any allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to

 these allegations and related claims.




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      80.    The 2015 Proxy stated the following in support of reelecting the current directors:

      Board's Role in Risk Oversight

      Our audit committee is primarily responsible for overseeing our risk management
      processes on behalf of the full board of directors. The audit committee receives
      reports from management at least quarterly regarding our assessment of risks. In
      addition, the audit committee reports regularly to the full board of directors, which
      also considers our risk profile. The audit committee and the full board of directors
      focus on the most significant risks we face and our general risk management
      strategies. While our board of directors oversees our risk management, company
      management is responsible for day-to-day risk management processes. Our board
      of directors expects company management to consider risk and risk management
      in each business decision, to proactively develop and monitor risk management
      strategies and processes for day-to-day activities and to effectively implement risk
      management strategies adopted by the audit committee and the board of directors.
      We believe this division of responsibilities is the most effective approach for
      addressing the risks we face and that our board leadership structure, which also
      emphasizes the independence of the board in its oversight of our business and
      affairs, supports this approach.

                                            * * *

      Audit Committee

      The members of the audit committee are Messrs. Atwood, Klingenstein, and
      McKinley, each of whom qualifies as an independent director under the corporate
      governance standards of the NASDAQ Stock Market and the independence
      requirements of Rule 10A-3 of the Exchange Act. Our board of directors has
      determined that Mr. McKinley qualifies as an "audit committee financial expert" as
      such term is defined in Item 407(d)(5) of Regulation S-K. Mr. McKinley serves as
      chairman of this committee. During the fiscal year 2014, our audit committee met
      four times, including telephonic meetings.

      Our audit committee oversees a broad range of issues surrounding our accounting
      and financial reporting processes and audits of our financial statements, and assists
      our board of directors by: (1) overseeing and monitoring the quality and integrity
      of our financial statements, our compliance with legal and regulatory
      requirements and our internal accounting procedures and systems of internal
      controls (2) assuming direct responsibility for the appointment, compensation,
      retention and oversight of work of any independent registered public accounting
      firm engaged for the purpose of performing any audit, review or attestation
      services, for overseeing and monitoring our independent registered public
      accounting firm's qualifications and independence, and for dealing directly with
      any such accounting firm, including resolving disagreements between management


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      and our independent auditor; (3) providing a medium for consideration of matters
      relating to any audit issues; and (4) preparing the audit committee report required
      to be included in our filings under the rules and regulations of the SEC. The written
      charter for the audit committee is available on our website at
      http://ir.clovisoncology.com under "Corporate Governance."

                                            * * *

      Nominating and Corporate Governance Committee

      The members of the nominating and corporate governance committee are Drs.
      Barrett, Blair, and Flaherty and Mr. Atwood, each of whom qualifies as an
      independent director under the corporate governance standards of the NASDAQ
      Stock Market. Dr. Barrett serves as chairman of this committee. During fiscal year
      2014, our nominating and corporate governance committee met three times.

      The nominating and corporate governance committee assists our board of directors
      in discharging its responsibilities relating to (1) developing and recommending
      criteria for selecting new directors, and identifying, screening and recommending
      nominees for election as directors; (2) screening and recommending to the board of
      directors individuals qualified to become executive officers; (3) evaluating our
      board of directors and its dealings with management; (4) developing, reviewing
      and recommending corporate governance guidelines and a code of business
      ethics; (5) generally advising our board of directors on other corporate
      governance and related matters; and (6) overseeing non-financial compliance.
      The written charter for the nominating and corporate governance committee is
      available on our website at http://ir.clovisoncology.com under "Corporate
      Governance."

                                            * * *

      Code of Business Ethics

      We have adopted the Clovis Oncology, Inc. Code of Business Ethics that is
      reviewed and published annually and contains the ethical principles by which our
      chief executive officer and chief financial officer, among others, are expected to
      conduct themselves when carrying out their duties and responsibilities. We intend
      to satisfy the disclosure requirements under Item 5.05 of Form 8-K regarding
      amendments to, or waivers from, a provision of our Code of Business Ethics by
      posting such information on our website at www.clovisoncology.com. Our Code of
      Business Ethics is available on our website at http://ir.clovisoncology.com under
      "Corporate Governance."




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         81.     Defendants' statements misleadingly suggested that the Board: (i) maintained

 adequate oversight of the Company's risks and compliance with legal and regulatory requirements;

 (ii) ensured effective implementation of risk management; (iii) developed proper corporate

 governance guidelines and a code of business ethics; and (iv) ensured the Company's officers and

 directors adhered to Clovis' Code, which states that all officers, directors, and employees must

 "conduct [themselves] in an ethical business manner" and must ensure "[f]ull, fair, accurate, timely

 and understandable disclosure in the reports required to be filed by the Company with the

 Securities and Exchange Commission." The 2015 Proxy utterly failed to disclose that: (i) Clovis

 had significant deficiencies in its drug trial controls; (ii) Clovis was noncompliant with FDA rules

 and regulations concerning drug trials and trial data; (iii) the Individual Defendants fostered a

 culture of lawlessness and unethical behavior at Clovis, and further grossly misrepresented the

 efficacy and safety data of the Company's most important drug, rociletinib; (iv) the Company's

 private disclosures to the FDA were substantially different than its public disclosures in various

 SEC filings; and (v) the Individual Defendants engaged in a highly risky and unethical scheme to

 artificially inflate the price of Clovis' stock.

         82.     The 2015 Proxy harmed Clovis by interfering with the proper governance on its

 behalf that follows the free and informed exercise of the stockholders' right to vote for directors.

 As a result of the Individual Defendants' misleading statements in the 2015 Proxy, Clovis'

 stockholders voted to reelect defendants Mahaffy, Barrett, and Spickschen to Clovis' Board.

 Defendants Mahaffy, Barrett, and Spickschen were able to wrongfully secure undeserved directors'

 compensation for another year.




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  THE TRUTH SLOWLY EMERGES AMID A SERIES OF IMPROPER STATEMENTS

         83.     The truth about rociletinib's actual efficacy began to emerge on November 16,

 2015, when the Company issued a press release titled Clovis Oncology Announces Regulatory

 Update for Rociletinib NDA Filing. In the press release, the Company finally admitted for the first

 time that all of the previously disclosed rociletinib data was "based primarily on unconfirmed

 responses." The press release further admitted that the actual confirmed response rates was just

 28% for patients in the 500mg dose group, and 34% for patients in the 625mg dose group, far less

 than the Individual Defendants had repeatedly touted. Despite this shocking revelation, defendant

 Mahaffy assured investors that the Company nonetheless "remain[ed] confident in rociletinib and

 its potential to treat patients." The press release stated:

         Clovis Oncology, Inc. (NASDAQ: CLVS) today announced that during its
         regularly scheduled Mid-Cycle Communication Meeting held last week with the
         U.S. Food and Drug Administration (FDA), the agency requested additional
         clinical data for use in the efficacy analysis for both the 500mg and 625mg BID
         dose patient groups for rociletinib. The Company will provide this information in a
         Major Amendment to the FDA by close of business today.

         "We remain confident in rociletinib and its potential to treat patients with mutant
         EGFR T790M-positive lung cancer, said Patrick J. Mahaffy, President and CEO of
         Clovis Oncology." We will continue to work diligently with the FDA on our NDA
         submission."

         In the Mid-Cycle Communication meeting, the FDA emphasized that its efficacy
         analysis would focus solely on confirmed responses. The New Drug Application
         (NDA) submitted by Clovis to the FDA contained immature data sets based on both
         unconfirmed response rates and confirmed response rates. These data sets were
         updated in the 90 day efficacy update the Company submitted at the end of October.

         As the rociletinib clinical trials were rapidly enrolling, Clovis presented interim
         data publicly and at medical meetings and these data therefore included a data set
         based primarily on unconfirmed responses. This was also true of the Company's
         Breakthrough Therapy designation submission. In the Company's NDA
         submission, both immature confirmed and unconfirmed response analyses were
         submitted. As the efficacy data have matured, the number of patients with an


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        unconfirmed response who converted to a confirmed response was lower than
        expected.

        In the intent to treat analysis of the 79 patients in the 500mg dose group, the
        current confirmed response rate is 28 percent, and 34 percent in the 170 patients
        in the 625mg dose group, with an encouraging duration of response in both doses.
        The most frequent reasons that patients' responses were not confirmed in a
        subsequent scan were due to progression, often due to brain metastasis, and due to
        subsequent scans not demonstrating tumor shrinkage greater than 30 percent.

        The Company anticipates that the review of this additional information will result
        in a delay of a potential approval. This additional review could lead to an extension
        of the Company's March 30, 2016 Prescription Drug User Fee Act (PDUFA) date.
        84.     Investors, analysts, researchers, and doctors were all universally stunned by the

 above news. As was later summarized by longtime cancer drug development expert, Dr. Kapil

 Dhingra:

        [Clovis' rociletinib] efficacy data have, consistently and repeatedly, over many
        years, been misrepresented…. This is not simply a case of gray zones, this is black
        and white untrue presentation of the data. And it is not just a minor
        misrepresentation … the true efficacy is about half of what they represented.

        85.     On November 16, 2015, the same day Clovis disclosed the truth about rociletinib's

 substantially lower efficacy, the Company's stock price plummeted an astonishing 70%, falling

 from $99.43 per share to just $30.24, wiping out approximately $2.7 billion in market

 capitalization in a single day.

        86.     In the following months, defendants misleadingly assured investors that despite

 rociletinib's inferior efficacy to Tagrisso, the drug's purportedly favorable safety profile would

 keep rociletinib competitive. For example, at the January 13, 2016 annual J.P. Morgan Healthcare

 conference, defendant Mahaffy touted that rociletinib would "compete just fine" and may "have

 some advantages" because of its safety profile. Defendant Mahaffy further boasted that the




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 "greater differentiator" between rociletinib and Tagrisso was a choice between purportedly easily-

 managed hyperglycemia with rociletinib and rash with Tagrisso.

        87.     On April 8, 2016, the FDA and Clovis publicly released rociletinib's safety data.

 The data confirmed that, in stark contrast to defendants' repeated statements concerning the drug's

 safety profile, rociletinib significantly increased the risk of "serious" and "life threatening" adverse

 cardiovascular events. These increased instances of QT prolongation occurred more than for any

 other competing therapy, and far more than for Tagrisso. Worse, the data showed that defendants

 knew this information since at least January 2015. The safety data also showed that, as a result of

 rociletinib's harmful side effects, 56% of patients interrupted treatment, 51% reduced their

 dosages, and 12% discontinued therapy altogether. As a result, the FDA insisted that if rociletinib

 was ever approved for use, it would have to display a "Boxed Warning [on its label] for the risk of

 QTc prolongation."

        88.     Following the above news, analysts quickly and accurately determined that

 rociletinib was "dead." The same day as the above disclosure, Clovis' stock plunged an additional

 17.7%, from $19.77 per share to $15.77 per share, wiping out an additional $130.4 million of the

 Company's market capitalization. The stock continued to drop over the next several days closing

 at $13.49 per share on April 13, 2016, resulting in a four-day loss of $217.9 million, or nearly a

 30% drop.

        89.     On April 12, 2016, the FDA's Oncologic Drugs Advisory Committee concluded

 that the available efficacy data and safety data failed to show that rociletinib possessed any

 clinically meaningful advantage over available therapies and voted twelve to one to delay FDA




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 action on the NDA until the Company could provide concrete evidence that the drug's overall

 risk/benefit profile merited FDA approval.

         90.    On May 5, 2016, Clovis issued a press release announcing that the Company had

 withdrawn its NDA for rociletinib and terminated enrollment in all ongoing sponsored studies of

 rociletinib.

                                     DAMAGES TO CLOVIS

         91.    As a result of the Individual Defendants' improprieties, Clovis disseminated

 improper, public statements concerning its clinical trials, the true nature of the clinical data, the

 safety and efficacy of the Company's most important pipeline drug, and the Board's oversight of

 operations. These improper statements have devastated Clovis' credibility, corporate image, and

 goodwill, as reflected by the Company's staggering multi-billion dollar market capitalization loss

 discussed above.

         92.    Clovis' performance issues also damaged its reputation with the government, the

 medical field, and in the capital markets. The U.S. government considers a company's ability to

 comply with applicable laws regulating its industry and not grossly misrepresent clinical data

 concerning the safety and efficacy of medicines. Similarly, medical doctors and specialists are

 less likely to consider treatments made by a Company with a known history of misrepresenting

 clinical data. In addition, Clovis' ability to raise equity capital or debt on favorable terms in the

 future is now impaired. The Company stands to incur higher marginal costs of capital and debt

 because the improper statements disseminated by the Individual Defendants have materially

 increased the perceived risks of investing in and lending money to the Company.




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         93.     Further, as a direct and proximate result of the Individual Defendants' actions,

 Clovis has expended, and will continue to expend, significant sums of money. Such expenditures

 include, but are not limited to:

                 (a)       costs incurred in investigating and defending the Company and certain of

 its officers in the Securities Class Action and other related lawsuits; and

                 (b)       costs incurred from compensation and benefits paid to the Individual

 Defendants.

                 (c)       Costs incurred from compensation and benefits paid to defendants Mahaffy,

 Barrett, and Spickschen that were reelected to the Board based on their materially misleading

 representations in the 2015 Proxy.

                  DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

         94.     Plaintiff brings this action derivatively in the right and for the benefit of Clovis to

 redress injuries suffered, and to be suffered, by Clovis as a direct result of breaches of fiduciary

 duty, waste of corporate assets, and unjust enrichment, as well as the aiding and abetting thereof.

 Clovis is named as a nominal defendant solely in a derivative capacity. This is not a collusive

 action to confer jurisdiction on this Court that it would not otherwise have.

         95.     Plaintiff will adequately and fairly represent the interests of Clovis in enforcing and

 prosecuting its rights.

         96.     Plaintiff was a stockholder of Clovis at the time of the wrongdoing complained of,

 has continuously been a stockholder since that time, and is a current Clovis stockholder.

         97.     For the purposes of the demand futility analysis, the demand Board consists of the

 following nine individuals: defendants Mahaffy, Barrett, Atwood, Blair, Klingenstein, McKinley,



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 Spickschen, Flaherty, and Graham. Plaintiff has not made any demand on the present Board to

 institute this action because such a demand would be a futile, wasteful, and useless act, as set forth

 below.

 Demand Is Excused Because a Majority of the Board Face a Substantial Likelihood of
 Liability for Their Misconduct

          98.    The principal duty of the Board is to ensure that the Company operates in

 compliance with all applicable laws and regulations. Defendants Mahaffy, Barrett, Atwood, Blair,

 Klingenstein, McKinley, Spickschen, Flaherty, and Graham face a substantial likelihood of

 liability for repeatedly failing to comply with this duty.

          99.    As alleged above, Board members—defendants Mahaffy, Barrett, Atwood, Blair,

 Klingenstein, McKinley, Spickschen, Flaherty, and Graham—violated section 14(a) of the

 Exchange Act by at least negligently making the misstatements and omissions in the 2015 Proxy.

          100.   Section 14(a) of the Exchange Act and SEC Rule 14a-9, promulgated thereunder,

 make it illegal to omit any material fact necessary to render statements included in proxy

 statements not misleading. The 2015 Proxy was solicited on behalf of the current Board member

 defendants named above, so they are responsible for the material omissions in the 2014-2016 proxy

 statements. The standard of culpability under section 14(a) is negligence. The current Board

 member defendants are not exculpated for negligent omissions in violation of section 14(a).

          101.   The 2015 Proxy failed to disclose and explain material facts including that: (i)

 Clovis had significant deficiencies in its drug trial controls; (ii) Clovis was noncompliant with

 FDA rules and regulations concerning drug trials and trial data; (iii) the Individual Defendants

 fostered a culture of lawlessness and unethical behavior at Clovis, and further grossly

 misrepresented the efficacy and safety data of the Company's most important drug, rociletinib; (iv)


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 the Company's private disclosures to the FDA were substantially different than its public

 disclosures in various SEC filings; and (v) the Individual Defendants engaged in a highly risky

 and unethical scheme to artificially inflate the price of Clovis' stock. Accordingly, demand is

 excused because a majority of the Board faces a substantial likelihood of liability.

        102.    The Director Defendants further breached their fiduciary duties of loyalty through

 the direct facilitation of the wrongful activity alleged herein, including knowingly and consciously

 submitting incomplete and incorrect data to the FDA, failing to put in place controls to enable the

 Board and senior management to properly exercise its duty of oversight, ignoring study protocol,

 and violating federal law and regulations.       The Director Defendants affirmatively adopted,

 implemented, executed, and condoned a business strategy based on deliberate violations of law.

 Such conduct is not legally protected business judgments. Accordingly, demand is excused

 because a majority of the Board faces a substantial likelihood of liability.

        103.    The Director Defendants further breached their fiduciary duties of loyalty by

 causing or allowing improper statements in the Company's press releases and SEC filings

 regarding: (i) the clinical data for the Company's core product, rociletinib; (ii) the safety and

 efficacy of rociletinib; (iii) the marketability of rociletinib; (iv) the Company's compliance with

 various rules and regulations; and (v) the Board's oversight of clinical trials and internal controls.

 These defendants also caused or allowed the Company to report inflated efficacy data to the

 investing public as compared to the data reported to the FDA. Moreover, rociletinib's true efficacy

 was far less than what was reported to the FDA and approximately half of what the Individual

 Defendants publically touted for years. In addition, the drug was significantly less safe than the




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 Individual Defendants repeatedly represented it to be. Accordingly, demand is excused because a

 majority of the Board faces a substantial likelihood of liability.

        104.    Plaintiff has not made any demand on the other stockholders of Clovis to institute

 this action since such demand would be a futile and useless act for at least the following reasons:

                (a)     Clovis is a publicly held company with over 54.8 million shares outstanding

 and thousands of stockholders;

                (b)     making demand on such a number of stockholders would be impossible for

 plaintiff who has no way of finding out the names, addresses, or phone numbers of stockholders;

 and

                (c)     making demand on all stockholders would force plaintiff to incur excessive

 expenses, assuming all stockholders could be individually identified.

                                              COUNT I

 Against Defendants Mahaffy, Barrett, Atwood, Blair, Klingenstein, McKinley, Spickschen,
         Flaherty, and Graham for Violation of Section 14(a) of the Exchange Act

        105.    Plaintiff incorporates by reference and realleges each and every allegation

 contained above, as though fully set forth herein.

        106.    The section 14(a) Exchange Act claims alleged herein are based solely on

 negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

 of the Director Defendants. The section 14(a) Exchange Act claims alleged herein do not allege

 and do not sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any

 allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to the

 nonfraud claims.




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        107.    The Director Defendants negligently issued, caused to be issued, and participated

 in the issuance of materially misleading written statements to stockholders which were contained

 in the 2015 Proxy.      The 2015 Proxy contained proposals to Clovis' stockholders urging

 stockholders to reelect defendants Mahaffy, Barrett, and Spickschen to the Board. The 2015

 Proxy, however, misrepresented and failed to disclose: (i) Clovis had significant deficiencies in its

 drug trial controls; (ii) Clovis was noncompliant with FDA rules and regulations concerning drug

 trial data and reporting; (iii) the Individual Defendants fostered a culture of lawlessness and

 unethical behavior at Clovis, and further grossly misrepresented the efficacy and safety data of the

 Company's most important drug, rociletinib; (iv) the Company's private disclosures to the FDA

 were substantially different than its public disclosures in various SEC filings; and (v) the

 Individual Defendants engaged in a highly risky and unethical scheme to artificially inflate the

 price of Clovis' stock. By reasons of the conduct alleged herein, the Director Defendants violated

 section 14(a) of the Exchange Act. As a direct and proximate result of these Director Defendants'

 wrongful conduct, Clovis misled and/or deceived its stockholders by making misleading

 statements that were an essential link in stockholders heeding Clovis' recommendation to reelect

 defendants Mahaffy, Barrett, and Spickschen to the Board.

        108.    The misleading information contained in the 2015 Proxy was material to Clovis'

 stockholders in determining whether or not to elect the Director Defendants. This information was

 also material to the integrity of the directors that were proposed for election to the Board. The

 proxy solicitation process in connection with the 2015 Proxy was an essential link in the reelection

 of nominees to the Board.




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        109.    Plaintiff, on behalf of Clovis, thereby seeks relief for damages inflicted upon the

 Company based upon the misleading 2015 Proxy in connection with the improper reelection of the

 members of the Board.

                                              COUNT II

                Against the Individual Defendants for Breach of Fiduciary Duty

        110.    Plaintiff incorporates by reference and realleges each and every allegation

 contained above, as though fully set forth herein.

        111.    The Individual Defendants owed and owe Clovis fiduciary obligations. By reason

 of their fiduciary relationships, the Individual Defendants owed and owe Clovis the highest

 obligation of good faith, fair dealing, loyalty, and due care.

        112.    The Individual Defendants violated and breached their fiduciary duties of candor,

 good faith, and loyalty. More specifically, the Individual Defendants violated their duty of good

 faith by creating a culture of lawlessness within Clovis, and/or consciously failing to prevent to

 Company from engaging in the unlawful acts complained of herein.

        113.    The Officer Defendants either knew, were reckless, or were grossly negligent in

 disregarding the illegal activity of such substantial magnitude and duration.            The Officer

 Defendants either knew, were reckless, or were grossly negligent in not knowing: (i) for years,

 Clovis had significant deficiencies in its drug trial controls; (ii) for years, Clovis was noncompliant

 with FDA rules and regulations concerning drug trial data and reporting; (iii) for years, the

 Individual Defendants grossly misrepresented the efficacy and safety data of the Company's most

 important drug, rociletinib; (iv) the Company's private disclosures to the FDA were substantially

 different than the Individual Defendants' public disclosures in various SEC filings; (v) the



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 Individual Defendants engaged in a highly risky and unethical scheme to artificially inflate the

 price of Clovis' stock; and (iv) the Individual Defendants' public statements about Clovis' business,

 including with respect to the Offering, were misleading. Accordingly, the Officer Defendants

 breached their duty of care and loyalty to the Company.

         114.    The Director Defendants, as directors of the Company, owed Clovis the highest

 duty of loyalty. These defendants breached their duty of loyalty by recklessly permitting the

 improper activity detailed herein. The Director Defendants knew or were reckless in not knowing

 that: (i) for years, Clovis had significant deficiencies in its drug trial controls; (ii) for years, Clovis

 was noncompliant with FDA rules and regulations concerning drug trial data and reporting; (iii)

 for years, the Individual Defendants grossly misrepresented the efficacy and safety data of the

 Company's most important drug, rociletinib; (iv) the Company's private disclosures to the FDA

 were substantially different than the Individual Defendants' public disclosures in various SEC

 filings; (v) the Individual Defendants engaged in a highly risky and unethical scheme to artificially

 inflate the price of Clovis' stock; and (iv) the Individual Defendants' public statements about

 Clovis' business, including with respect to the Offering, were misleading. Accordingly, the

 Director Defendants breached their duty of loyalty to the Company.

         115.    As a direct and proximate result of the Individual Defendants' breaches of their

 fiduciary obligations, Clovis has sustained significant damages, as alleged herein. As a result of

 the misconduct alleged herein, these defendants are liable to the Company.

         116.    Plaintiff, on behalf of Clovis, has no adequate remedy at law.

                                        PRAYER FOR RELIEF

         WHEREFORE, plaintiff, on behalf of Clovis, demands judgment as follows:



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        A.      Against all of the defendants and in favor of the Company for the amount of any

 and all damages sustained by the Company as a result of the defendants' violations of securities

 law and breaches of fiduciary duties, including any and all damages compensable under the wrong

 of another doctrine;

        B.      Directing Clovis to take all necessary actions to reform and improve its corporate

 governance and internal procedures to comply with applicable laws and to protect Clovis and its

 stockholders from a repeat of the damaging events described herein, including, but not limited to,

 putting forward for stockholder vote, resolutions for amendments to the Company's By-Laws or

 Articles of Incorporation and taking such other action as may be necessary to place before

 stockholders for a vote of the following Corporate Governance Policies:

                1.      a proposal to strengthen the Company's drug trial controls;

                2.      a proposal to strengthen the Company's operational controls;

                3.      a proposal to strengthen the Company' disclosure controls to ensure

 material information is adequately and timely disclosed to the SEC and public;

                4.      a proposal to strengthen the Board's supervision of operations and develop

 and implement procedures for greater stockholder input into the policies and guidelines of the

 Board; and

                5.      a provision to permit the stockholders of Clovis to nominate at least three

 candidates for election to the Board;

        C.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

 state statutory provisions sued hereunder, including attaching, impounding, imposing a




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 constructive trust on, or otherwise restricting the proceeds of defendants' trading activities or their

 other assets so as to assure that plaintiff on behalf of Clovis has an effective remedy;

        D.      Awarding to Clovis restitution from defendants, and each of them, and ordering

 disgorgement of all profits, benefits, and other compensation obtained by the defendants;

        E.      Awarding to plaintiff the costs and disbursements of the action, including

 reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

        F.      Granting such other and further relief as the Court deems just and proper.

                                              JURY DEMAND

        Plaintiff demands a trial by jury.

  Dated: December 23, 2019                           s/ George C. Aguilar
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 23, 2019, I electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
 following email addresses:

          George C. Aguilar
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                                                           s/ George C. Aguilar
                                                           George C. Aguilar




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